        Case 1:20-cv-00131-SAV Document 55                 Filed 07/13/23     Page 1 of 16




                  UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: HON. STEPHEN ALEXANDER VADEN, JUDGE
__________________________________________
                                           :
NATURE’S TOUCH FROZEN FOODS                :
(WEST) INC.,                               :
                                           :
                        Plaintiff,         :                          Court No. 20-00131
                                           :
                  v.                       :
                                           :
UNITED STATES,                             :
                                           :
                        Defendant.         :
__________________________________________:

             DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION FOR
            STAY OF ENFORCEMENT OF JUDGMENT PENDING APPEAL

       Pursuant to Rules 7 and 62 of the Rules of the Court, Defendant United States

respectfully responds to plaintiff’s motion for stay of enforcement of the judgment pending

appeal. As a threshold matter, a stay is unnecessary and not contemplated by the law for this

type of case. Plaintiff seeks a stay of the Court’s judgment to prevent the reliquidation of its

entries prior to the conclusion of its appeal. But, for cases commenced under 19 U.S.C.

§ 1514(a) and 28 U.S.C. § 1581(a), the law instructs U.S. Customs and Border Protection (CBP)

not to effectuate a judgment until it becomes final – that is, when all appeals or the possibility of

appeals are foreclosed. In this case, plaintiff has commenced an appeal and, thus, this Court’s

judgment has not become final. Consequently, plaintiff has no basis to fear the reliquidation of

its entries during the pendency of the appeal and a request for a stay of the Court’s judgment is

unnecessary. For this reason, as well as those discussed below, we respectfully request that

plaintiff’s motion be denied.
        Case 1:20-cv-00131-SAV Document 55               Filed 07/13/23     Page 2 of 16




                                        BACKGROUND

       This case concerns various frozen fruit mixture products that plaintiff, Nature’s Touch,

imported into the United States from Canada between June 6, 2018, and November 21, 2018.

Summons, ECF 1, at 3–4. At liquidation, CBP classified the subject merchandise under heading

0811, HTSUS, which covers “Fruit and nuts, uncooked or cooked by steaming or boiling in

water, frozen, whether or not containing added sugar or other sweetening matter.” Pl.’s

Statement of Undisputed Material Facts (Pl.’s Facts), ECF 28, ¶¶ 11–24. Depending on the

ingredients of the mixture, Customs classified the merchandise in liquidation under the various

HTSUS subheadings: 0811.90.10 (“Bananas and plantains”), 0811.90.20 (“Blueberries”),

0811.90.52 (“Mangoes”), and 0811.90.80 (“Other”). Pl.’s Facts ¶¶ 11–24; Def.’s Resp. to Pl.’s

Statement of Undisputed Material Facts (Def.’s Resp. Facts), ECF 36, ¶¶ 11–24. Plaintiff

claimed that the frozen fruit mixtures should instead be classified under subheading 2106.90.98,

HTSUS, as “Food preparations not elsewhere specified or included: Other: Other: Other: Other:

Other: Other” and that the merchandise was eligible for duty-free treatment under the North

American Free Trade Agreement (NAFTA). Summons, at 1–2. Thereafter, both parties

submitted motions for summary judgment.

       On May 26, 2023, the Court issued its decision in Slip. Op. 23-82, ECF 48, granting in

part the Government’s motion for summary judgment as to the classification of Antioxidant

Blend Frozen, Frozen Medley Mixed Fruit, Blueberry Blitz, Organic Strawberry/Cherry/Kale,

and Organic Triple Berry with Kale, denying in part the Government’s motion as to the

classification of the remaining nine products, ordering CBP to reclassify all of the products into

0811.90.80, HTSUS, and denying plaintiff’s motion for summary judgment.


                                                 2
        Case 1:20-cv-00131-SAV Document 55               Filed 07/13/23     Page 3 of 16




       On the same day, the Court issued the judgment for Slip. Op. 23-82, ECF 49, which

ordered the following:

                       ORDERED that Nature’s Touch’s Motion for Summary
               Judgment, ECF 28, is DENIED; and it is further
                       ORDERED that the Government’s Cross-Motion for
               Summary Judgment, ECF 36, is GRANTED IN-PART and
               DENIED IN-PART; and it is further
                       ORDERED that the merchandise at issue is properly
               classified in subheading 0811.90.80, HTSUS; and it is further
                       ORDERED that the following products shall be
               reliquidated at a duty rate of 14.5% ad valorem: (1) Antioxidant
               Blend Frozen, (2) Frozen Medley Mixed Fruit, (3) Blueberry Blitz,
               (4) Organic Strawberry/Cherry/Kale, and (5) Organic Triple Berry
               with Kale; and it is further
                       ORDERED that such reliquidation shall not apply to entries
               of Organic Triple Berry with Kale that were originally classified in
               subheading 0811.90.52, HTSUS at a duty rate of 10.9% ad
               valorem, nor to the entry of Blueberry Blitz at Entry No. MK8-
               53465690 that was originally classified duty-free in subheading
               0811.90.20, HTSUS; and it is further
                       ORDERED that the following products shall not be
               reliquidated, and that Nature’s Touch shall not be liable for excess
               duties resulting from their reclassification into subheading
               0811.90.80, HTSUS: (1) Frozen Strawberry/Banana, (2) Frozen
               Berry Mix, (3) Frozen Triple Berry, (4) Organic Mixed Berry, (5)
               Organic Very Berry Burst, (6) Organic Strawberry/Blueberry/
               Mango, (7) Organic Tropical Blend, (8) Organic Green Mango
               Medley, and (9) Organic Tropical Fruit and Greens.

       On June 23, 2023, plaintiff filed a notice of appeal of the Court’s judgment. Thereafter,

plaintiff filed a motion requesting a stay of the enforcement of the judgment pending appeal.

I.         STANDARD FOR A STAY OF ENFORCEMENT OF JUDGMENT

       “[A]ll orders and judgments of courts must be complied with promptly.” Maness v.

Meyers, 419 U.S. 449, 458 (1975). “Except as provided in Rule 62(c) and (d), execution on a

judgment and proceedings to enforce it are stayed for 30 days after its entry, unless the court

orders otherwise.” USCIT Rule 62(a). “At any time after judgment is entered, a party may

                                                 3
           Case 1:20-cv-00131-SAV Document 55              Filed 07/13/23     Page 4 of 16




obtain a stay by providing a bond or other security. The stay takes effect when the court

approves the bond or other security and remains in effect for the time specified in the bond or

other security.” USCIT Rule 62(b).

II.    THE BASIS FOR PLAINTIFF’S MOTION IS NOT SUPPORTED BY THE LAW -
       CBP DOES NOT EXECUTE A JUDGMENT FOR CASES COMMENCED
       UNDER 19 U.S.C. § 1514(a) AND 28 U.S.C. § 1581(a) UNTIL THE JUDGMENT
       HAS BECOME FINAL

       As a threshold matter, the basis for plaintiff’s motion is not supported by the law.

Plaintiff seeks a stay of the Court’s judgment to prevent the reliquidation of its entries prior to

the conclusion of its appeal. However, as we show below, for cases commenced under 28 U.S.C.

§ 1581(a) to seek judicial review of one of the decisions identified in 19 U.S.C. § 1514(a), the

law instructs CBP not to effectuate a judgment until the judgment becomes final – that is, when

all appeals or the possibility of appeals are foreclosed. Consequently, a stay of the Court’s

judgment is not necessary.

               1. CBP Takes “Action Accordingly” When A Judgment Of The Court “Has
                  Become Final”__________________________________________________

       Pursuant to 19 U.S.C. § 1514(a), “[w]hen a judgment or order of the United States Court

of International Trade has become final, the papers transmitted[1] shall be returned, together with


       1
          The papers transmitted to the Court, for cases commenced under 28 U.S.C. § 1581(a),
are “any document, paper, information or data relating to the entry of merchandise and the
administrative determination that is the subject of the protest or petition.” 28 U.S.C. § 2635(a).
        The Court has identified this material with more specificity in USCIT Rule 73.1. When a
case is commenced under 28 U.S.C. § 1581(a), CBP is required to file the “(1) information
contained in the entry summary; (2) commercial invoice and any other relevant documents
associated with the entry, submitted by or on behalf of the importer; (3) protest or petition,
including any attachments and supplements; and (4) decision on the protest or petition.” USCIT
Rule 73.1 (effective Oct. 21, 2019). The Rule also provides for the filing of samples of the
merchandise in certain circumstances. Id.
        Prior to April 23, 2018, CBP filed these documents with the Court in paper form. These
papers were then placed in the court jacket for each case. However, with the amendment of Rule
                                                  4
        Case 1:20-cv-00131-SAV Document 55                Filed 07/13/23      Page 5 of 16




a copy of the judgment or order to the Customs Service, which shall take action accordingly.”

Emphasis added. The statute provides as follows:

               19 U.S.C. § 1514(a) Finality of decisions; return of papers

               (a) Except as provided in subsection (b) of this section, section
               1501 of this title (relating to voluntary reliquidations), section 1516
               of this title (relating to petitions by domestic interested parties),
               section 1520 of this title (relating to refunds), and section 6501 of
               Title 26 (but only with respect to taxes imposed under chapters 51
               and 52 of such title), any clerical error, mistake of fact, or other
               inadvertence, whether or not resulting from or contained in an
               electronic transmission, adverse to the importer, in any entry,
               liquidation, or reliquidation, and, decisions of the Customs Service,
               including the legality of all orders and findings entering into the
               same, as to--
                        (1) the appraised value of merchandise;
                        (2) the classification and rate and amount of duties
                        chargeable;
                        (3) all charges or exactions of whatever character within
                        the jurisdiction of the Secretary of the Treasury;
                        (4) the exclusion of merchandise from entry or delivery or a
                        demand for redelivery to customs custody under any
                        provision of the customs laws, except a determination
                        appealable under section 1337 of this title;
                        (5) the liquidation or reliquidation of an entry, or
                        reconciliation as to the issues contained therein, or any
                        modification thereof, including the liquidation of an entry,
                        pursuant to either section 1500 of this title or section 1504
                        of this title;
                        (6) the refusal to pay a claim for drawback; or
                        (7) the refusal to reliquidate an entry under subsection (d)
                        of section 1520 of this title;

               shall be final and conclusive upon all persons (including the United
               States and any officer thereof) unless a protest is filed in
               accordance with this section, or unless a civil action contesting the
               denial of a protest, in whole or in part, is commenced in the United
               States Court of International Trade in accordance with chapter 169
               of Title 28 within the time prescribed by section 2636 of that title.
               When a judgment or order of the United States Court of

73.1 (effective April 23, 2018), CBP now files this information electronically through the
Court’s case management/electronic case files system (CM/ECF).
                                                5
        Case 1:20-cv-00131-SAV Document 55                Filed 07/13/23      Page 6 of 16




               International Trade has become final, the papers transmitted shall
               be returned, together with a copy of the judgment or order to the
               Customs Service, which shall take action accordingly.

Emphasis added.

       The transmission of the judgment to CBP, upon becoming final, is also reflected in the

Rules of the Court. Pursuant to USCIT Rule 80(d), “[w]hen a judgment or order of the court has

become final, papers, exhibits, and other material transmitted to the court pursuant to 28 U.S.C.

§ 2635, must be returned by the clerk, together with a copy of the judgment or order, to the

agency from which they were transmitted.” USCIT Rule 80(d) (Return and Removal).

               2. The Phrase “Take Action Accordingly” In Section 1514(a) Means
                  Effectuate The Judgment__________________________________

       The return of these materials to CBP is significant because CBP must “take action

accordingly.” “Accordingly” means “in a way that is suitable or right for the situation.”

Accordingly, Cambridge Dictionary, https://dictionary.cambridge.org/us/dictionary/english/

accordingly (last visited July 13, 2023). Here, section 1514(a) references the transmission of the

judgment or court order to CBP in connection with the instruction to take action. Consequently,

for section 1514(a), “take action accordingly” means for CBP to act accordingly to the directives

of the judgment or order that is sent by the Court.

       Relief in most section 1581(a) cases is effectuated through the reliquidation of the entries.

See, e.g., Court Form 9 (“IT IS HEREBY ORDERED that [this action is] [these actions are]

decided and this final judgment is to be entered by the Clerk of the Court; the appropriate U.S.

Customs and Border Protection officials shall reliquidate the [entry] [entries] and make refund in

accordance with the stipulation of the parties set forth above.”). This is particularly relevant for

cases seeking judicial review of decisions as to valuation, classification, liquidation/reliquidation

                                                  6
          Case 1:20-cv-00131-SAV Document 55                Filed 07/13/23      Page 7 of 16




(or the refusal thereof), and drawback cases (or the refusal to pay drawback claims). 19 U.S.C.

§ 1514(a)(1), (2), (3), (5), (6), (7). The Court’s judgment in this case is consistent with this form

of relief as it directs CBP to reliquidate or not reliquidate the entries as.

          Operationally, when importers submit entry documents to CBP in physical form, CBP

generally cannot reliquidate entries without the papers because CBP uses the physical papers,

including the commercial invoice, to accomplish the task. The “entry summary” is “any other

documentation or electronic submission of data necessary to enable CBP to assess duties, and

collect statistics on imported merchandise, and determine whether other requirements of law or

regulation are met.” 19 C.F.R. § 141.0a(b). The invoice provides a detailed description of the

merchandise including the name by which it is known, the quantities, the price or value, among

other data, which comprises the pertinent information that CBP uses to assess duties. 19 C.F.R.

§ 141.86. The “papers” transmitted to the Court under 19 U.S.C. § 1514(a) and USCIT Rule

73.1 are “part of the official record,” 28 U.S.C. § 2635(a), and their return to the agency ensures

that the agency accomplishes the reliquidation based on the documents of the official Court

record.

          CBP’s regulations provide timeframes for the reliquidation of entries following Court

decisions. Pursuant to 19 C.F.R. § 176.31(a), “an entry which is the subject of a decision of the

U.S. Court of International Trade shall be reliquidated in accordance with the judgment order

thereon at the expiration of 60 days from the date of the decision, unless an appeal or motion for

a rehearing is filed.” If an appeal is filed, the entries “shall be reliquidated at the expiration of 90

days from the date of entry of decision by that court and only upon receipt of the judgment order

from the U.S. Court of International Trade.” 19 C.F.R. § 176.31(c). “However, no such entry


                                                   7
        Case 1:20-cv-00131-SAV Document 55                Filed 07/13/23      Page 8 of 16




shall be reliquidated pursuant to such order if a petition for certiorari is taken to the Supreme

Court.” Id. For completeness, the regulation provides as follows:

               19 C.F.R. § 176.31 Reliquidation following decision of court.

               (a) Decision of U.S. Court of International Trade. Except as
               provided in paragraph (c) of this section, an entry which is the
               subject of a decision of the U.S. Court of International Trade shall
               be reliquidated in accordance with the judgment order thereon at
               the expiration of 60 days from the date of the decision, unless an
               appeal or motion for a rehearing is filed. However, entries which
               are the subject of decisions of the court following a decision of the
               Court of Appeals for the Federal Circuit which involve the same
               issue, or which are based on submission of an agreed statement of
               fact, may be reliquidated immediately upon receipt of the judgment
               orders from the U.S. Court of International Trade.

               (b) Decision of the Court of Appeals for the Federal Circuit.
               Except as provided in paragraph (c) of this section, an entry
               covering merchandise which is the subject of a decision of the
               Court of Appeals for the Federal Circuit shall be reliquidated at
               the expiration of 90 days from the date of entry of decision by that
               court and only upon receipt of the judgment order from the U.S.
               Court of International Trade. However, no such entry shall be
               reliquidated pursuant to such order if a petition for certiorari is
               taken to the Supreme Court.

               (c) Waiver of right of appeal. Upon receipt of a letter from the
               Assistant Attorney General, Civil Division, Department of Justice,
               signed by the Chief, Customs Section, advising that no appeal will
               be taken from a decision of the U.S. Court of International Trade
               or that it has been determined that no petition for certiorari shall be
               filed in the Supreme Court to review a decision of the Court of
               Appeals for the Federal Circuit, any entry or entries covered by
               such decision may be reliquidated pursuant to the judgment of the
               U.S. Court of International Trade prior to the expiration of the
               times specified in paragraphs (a) and (b) of this section.

Emphasis added.




                                                  8
        Case 1:20-cv-00131-SAV Document 55                 Filed 07/13/23      Page 9 of 16




       This framework shows that the phrase “take action accordingly” is an instruction to CBP

to effectuate the terms of the judgment or order, which for most section 1514(a) cases, involves

the reliquidation of entries. 19 U.S.C. § 1514(a).

               3. The Phrase “Has Become Final” In Section 1514(a) Means When The
                  Judgment Is No Longer Subject To Appeal________

       The Court returns the papers and transmits a copy of the judgment to CBP when the

judgment “has become final.” 19 U.S.C. § 1514(a); USCIT Rule 80(d). Black’s Law Dictionary

defines “final judgment” as “[a] court’s last action that settles the rights of the parties and

disposes of all issues in controversy, except for the award of costs (and, sometimes, attorney’s

fees) and enforcement of the judgment.” 11th ed. (2019) (“Also termed final appealable

judgment; final decision; final decree; definitive judgment; determinative judgment; final

appealable order.”).

       Within the context of 19 U.S.C. § 1514(a), “[b]ecause a judgment of this Court is final

and appealable on the date it is issued, a judgment can only ‘become final’ in the sense that it is

no longer subject to appeal or collateral attack, i.e., final and conclusive.” Diamond Sawblades

Mfrs. Coalition v. United States, 650 F.Supp.2d 1331, 1347 (Ct. Int’l Trade 2009) (citing

Heraeus–Amersil v. United States, 638 F.Supp. 342 (Ct. Int’l Trade 1986)), aff’d, Diamond

Sawblades Mfrs. Coalition v. United States, 626 F.3d 1374 (Fed. Cir. 2010). The Court has

described the statutory language (“has become final”) as a “clear statutory directive” and an

indication “to delay the enforcement of this Court’s decisions.” Diamond Sawblades, 650

F.Supp.2d at 1347.

       CBP’s regulations implement this legal maxim by setting timeframes for reliquidation

subsequent to court decisions. As indicated above, “an entry which is the subject of a decision of

                                                   9
        Case 1:20-cv-00131-SAV Document 55               Filed 07/13/23     Page 10 of 16




the U.S. Court of International Trade shall be reliquidated in accordance with the judgment order

thereon at the expiration of 60 days from the date of the decision, unless an appeal or motion for

a rehearing is filed.” 19 C.F.R. § 176.31(a) (emphasis added). If an appeal is filed, the entries

“shall be reliquidated at the expiration of 90 days from the date of entry of decision by that court

and only upon receipt of the judgment order from the U.S. Court of International Trade.” 19

C.F.R. § 176.31(c) (emphasis added).

        An example of this framework is reflected in Heraeus–Amersil, 638 F.Supp. at 342. In

that proceeding, the Court issued a decision and judgment in a tariff classification proceeding

brought under 19 U.S.C. § 1514(a) and 28 U.S.C. § 1581(a). Id. at 343. There was some

confusion over which entries were covered by the Court’s decision, and to resolve the confusion,

the Court vacated its initial opinion and judgment and issued a second opinion, clarifying that it

was entering judgment for plaintiff for only six entries. Id. The parties thereafter commenced an

appeal. Id. Shortly after the filing of the appeal, the Clerk of the Court returned the entry papers

to CBP, along with the first slip opinion, judgment, and only portions of the second slip opinion.

Id. CBP, in turn, attempted to reliquidate all of the entries under the tariff provision claimed by

plaintiff, and as a result, CBP mistakenly issued refunds to the importer in the amount of

$13,503.77, plus $4,845.50 in interest payments. Id.

        The Government requested the return of the money since the case was on appeal and no

final judgment had been entered. Id. The plaintiff refused, and the Government filed an

application for an order to show cause. Id. In response, the plaintiff challenged the Court’s

jurisdiction to provide relief.




                                                 10
        Case 1:20-cv-00131-SAV Document 55                 Filed 07/13/23      Page 11 of 16




       The Court rejected the importer’s arguments. The Court held that it was “not divested of

jurisdiction to ensure the proper implementation of its judgment or compliance with statutory

procedures pending the finality of its judgment.” Id. at 344. It further held that the refund was

not made in accordance with the judgment and a reimbursement was necessary to ensure

“maintenance of the status quo pending the appeal, as the statutory scheme requires.” Id.

       Specifically, the Court held that:

               Although Customs’ refund of monies was ostensibly pursuant to
               the Court’s order of August 27, 1985, it was not in accordance with
               that order since the refund was based upon attempted
               reliquidations of nine entries rather than upon the six entries called
               for by the order. Further, Customs did not carry out the refund
               pursuant to a final court order since the case was on appeal. See
               28 U.S.C. § 2645(c) (1982) (pertaining to the finality of judgments
               unless rehearing granted or appeal taken). This Court thus has
               authority and responsibility to implement the Order of the Court of
               Appeals and take “such action as may appear ... necessary or
               desirable to restore matters to the status quo prior to the error”
               resulting in the refund of monies. Such authority is indispensible
               to ensuring the Government’s security as contemplated by 19
               U.S.C. § 1514(a) (1982), which provides for the reliquidation of
               entries or refund of duties only after a court judgment has become
               final.

Heraeus–Amersil, 638 F.Supp. at 344. Consistent with this reasoning, the Court ordered plaintiff

to return the monies to CBP pending a final court decision in the case. Id.

       The holding in Heraeus–Amersil shows that, when an appeal is filed in tariff

classification cases brought under 19 U.S.C. § 1514(a) and 28 U.S.C. § 1581(a), the law requires

CBP to maintain the status quo (i.e., delay enforcing the judgment) until the judgment becomes

final (i.e., when it is no longer subject to appeal). Here, plaintiff has filed a notice of appeal of

the Court’s judgment, and CBP will not be effectuating the judgment and reliquidating the



                                                  11
       Case 1:20-cv-00131-SAV Document 55                Filed 07/13/23      Page 12 of 16




entries during the pendency of the appeal. Therefore, plaintiff’s application for a stay is

unnecessary and not contemplated by the law.

       Notably, this description of a final judgment is consistent with the description by the U.S.

Court of Appeals for the Federal Circuit for a “final decision” in the context of the antidumping

statute, 19 U.S.C. § 1516a(e)(2), which it has defined as “a decision that is ‘conclusive,’ where

all appeals or possibility of appeals are foreclosed.” Yancheng Baolong Biochemical Prods. Co.

v. United States, 406 F.3d 1377, 1381 (Fed. Cir. 2005) (quoting Timken Co. v. United States, 893

F.2d 337, 339 (Fed. Cir. 1990)).

       One operational note – it is our understanding that for section 1581(a) cases commenced

prior to April 23, 2018, when a judgment becomes final, the Office of the Clerk of the Court

physically mails this judgment along with the Rule 73.1 documents to CBP (i.e., the entry

papers, protests, and protest decisions, etc.). This is because, as we referenced in footnote 1,

these documents are being provided to the Court in paper form, and CBP generally cannot

effectuate a judgment until the physical entry papers are returned. However, for section 1581(a)

cases commenced on or after April 23, 2018, after which entry papers are filed electronically, it

is our understanding that the Clerk does not return any documents to CBP, including the final

judgment. Nevertheless, CBP continues to effectuate judgments when they become final, in

accordance with the legal framework above.

III.   PLAINTIFF’S APPLICATION FAILS UNDER THE TRADITIONAL FOUR-
       FACTOR BALANCING TEST FOR THE STAY OF JUDGMENTS

       “‘[A]s part of its traditional equipment for the administration of justice, a federal court

can stay the enforcement of a judgment pending the outcome of an appeal.’” Nken v. Holder,



                                                 12
       Case 1:20-cv-00131-SAV Document 55                Filed 07/13/23       Page 13 of 16




556 U.S. 418, 427 (2009) (quoting Scripps-Howard Radio, Inc. v. FCC, 316 U.S. 4, 9-10

(1942)). Under the traditional legal standard for a stay articulated by the Supreme Court,

               a court considers four factors: “(1) whether the stay applicant has
               made a strong showing that he is likely to succeed on the merits;
               (2) whether the applicant will be irreparably injured absent a stay;
               (3) whether issuance of the stay will substantially injure the other
               parties interested in the proceeding; and (4) where the public
               interest lies.”

Nken, 556 U.S. at 427 (quoting Hilton v. Braunskill, 481 U.S. 770, 776 (1987)). “The first two

factors of the traditional standard are the most critical.” Nken, 556 U.S. at 434.

       A balance of the four factors shows that a stay is not warranted, primarily because there

is no harm, irreparable or other. We begin our discussion with this factor.

               1. Plaintiff Cannot Show Irreparable Injury Absent A Stay

       Plaintiff argues that it will be irreparably harmed because the “liquidation of an entry

moots a party’s claims as to those entries and deprives a court of power to hear claims or grant

relief with respect to such entries.” Pl. Mot., ECF 53, at 4. This argument is misplaced in

several respects.

       First, we assume plaintiff’s reference to the liquidation of the entries was in error. The

entries in this action have already liquidated (indeed, those liquidations formed the basis for the

administrative protest and the subsequent judicial review). We assume that, for this argument,

plaintiff intended to reference the reliquidation of the entries in conformity with the judgment.

See, e.g., Pl. Mot., ECF 53, at 4 (“reliquidation of subject entries would moot Plaintiff’s appeal

as to those entries.”). However, as we established above, CBP will not reliquidate the entries

until the judgment becomes final – that is, after the conclusion of all appeals. Consequently,



                                                 13
        Case 1:20-cv-00131-SAV Document 55                 Filed 07/13/23      Page 14 of 16




plaintiff has no basis to fear the reliquidation of its entries during the pendency of the appeal, and

plaintiff will not suffer any irreparable harm absent a stay.

        Alternatively, if the reference to the liquidation of the entries was not in error, plaintiff’s

argument fails as a matter of law. Plaintiff’s claims will not become moot in the manner

described in its brief because the liquidation of its entries remains non-final given the filing of

the protest and the commencement of the court action. Specifically, as indicated in 19 U.S.C.

§ 1514(a), decisions as to the classification and rate and amount of duties chargeable, or the

liquidation or reliquidation of an entry, shall be final and conclusive upon all persons (including

the United States and any officer thereof) “unless a protest is filed in accordance with this

section, or unless a civil action contesting the denial of a protest, in whole or in part, is

commenced in the United States Court of International Trade in accordance with chapter 169 of

Title 28 within the time prescribed by section 2636 of that title.” Here, because plaintiff filed a

protest and then a civil action, the liquidations are non-final and will remain non-final through

the pendency of all appeals.

        Therefore, plaintiff’s claims will not become moot in the manner addressed by Agro-

Dutch Ind. Ltd. v. United States, 589 F.3d 1187 (Fed. Cir. 2009), Carbon Activated Corp. v.

United States, 791 F.3d 1312 (Fed. Cir. 2015), In re Section 301 Cases, 524 F.Supp.3d 1355 (Ct.

Int’l Trade 2021), Shandong Huarong Mach Co. v. United States, 32 CIT 1316 (2008), and

Sunpreme Inc. v. United States, 2017 Ct. Intl. Tr. LEXIS 1 (2017), and these cases have no

applicability to the circumstances of this case. Pl. Mot., ECF 53, at 4.




                                                  14
        Case 1:20-cv-00131-SAV Document 55                Filed 07/13/23     Page 15 of 16




                2. Plaintiff’s Application Fails Under The Remaining Factors For A Stay

        Plaintiff’s application fails under the remaining factors of Nken, 556 U.S. at 427.

Plaintiff argues that the Court’s decision in Slip. Op. 23-82 “was based on a construction of the

term ‘other’ with which both parties disagreed” and that “[t]he appeal therefore presents at least

a substantial legal question.” Pl. Mot., ECF 53, at 5. Plaintiff also argues that “there is a

possibility that the Federal Circuit will take a different view.” Id. However, the showing of a

substantial legal question is not the standard by which the Court evaluates an application for a

stay of the judgment. Rather, plaintiff must make a strong showing that it will likely succeed on

the merits. Nken, 556 U.S. at 427. Here, plaintiff fails to identify any factual or legal errors in

the Court’s decision.

        Second, the public interest is best served by the proper enforcement of existing rules,

statutes, and regulations that govern the timing and enforcement of judgments in the Court. As

we have explained supra in Section II, the legal framework for the commencement and

resolution of actions commenced under 19 U.S.C. § 1514(a) and 28 U.S.C. § 1581(a) instructs

CBP not to effectuate a judgment until it becomes final. As such, this factor weighs against

plaintiff’s motion for a stay.

        The final factor the Court considers is “whether issuance of the stay will substantially

injure the other parties interested in the proceeding.” Nken, 556 U.S. at 427. Because CBP, in

the normal course, does not effectuate judgments in section 1581(a) cases until they are final, the

Government will not be substantially injured by the issuance of a stay. Indeed, to maintain

operational feasibility, if the Court decides to apply the law in a way requiring CBP to effectuate




                                                 15
       Case 1:20-cv-00131-SAV Document 55               Filed 07/13/23     Page 16 of 16




the judgment prior to the conclusion of the appeal, we would join with plaintiff in requesting a

stay of the judgment at this time to maintain the status quo pending the appeal.

                                        CONCLUSION

       For all the foregoing reasons, we respectfully request that the Court deny plaintiff’s

motion for stay of enforcement of the judgment pending appeal.

                                             Respectfully submitted,

                                             BRIAN M. BOYNTON
                                             Principal Deputy Assistant Attorney General

                                             PATRICIA M. McCARTHY
                                             Director

                              By:            /s/ Justin R. Miller
                                             JUSTIN R. MILLER
                                             Attorney-In-Charge
                                             International Trade Field Office

                                             /s/ Brandon A. Kennedy
                                             BRANDON A. KENNEDY
                                             Trial Attorney
                                             Department of Justice, Civil Division
                                             Commercial Litigation Branch
                                             26 Federal Plaza – Suite 346
                                             New York, New York 10278
                                             (212) 264-9237
Dated: July 13, 2023                         Attorneys for Defendant




                                                16
